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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,

 Plaintiff,

 v.                                                      CRIMINAL NO. 15-600 (GAG)

 [12] GEOVANNI TORRES-SANTANA,

 Defendant.


                         REPORT AND RECOMMENDATION
                    RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
I.      Procedural Background
        On September 23, 2015, a grand jury returned an indictment against defendant [12]

Geovanni Torres-Santana. ECF No. 3. Defendant has agreed to plead guilty to count one of the

indictment. Count one charges that beginning on a date unknown, but no later than in or about

2009, to March 2015, in the Municipality of Bayamón, in the District of Puerto Rico, elsewhere,

and within the jurisdiction of this court, the defendant knowingly and intentionally combined,

conspired and agreed with diverse other persons known and unknown to the Grand Jury, to commit

an offense against the United States, that is: to possess with the intent to distribute one (1) kilogram

or more of a mixture or substance containing a detectable amount of heroin, a Schedule I Narcotic

Drug Controlled Substance; two-hundred and eighty (280) grams or more of a mixture or substance

containing a detectable amount of cocaine base (“crack”), a Schedule II Narcotic Drug Controlled

Substance; five (5) kilograms or more of a mixture or substance containing a detectable amount of

cocaine, a Schedule II Controlled Substance; and a measurable amount of a mixture or substance

containing a detectable amount of marijuana, a Schedule I Controlled Substance; a mixture or

substance containing detectable amounts of Oxycodone (commonly known as Percocet), a
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Schedule II Controlled Substance; and a mixture or substance containing detectable amounts of

Alprazolam (commonly known as Xanax), a Schedule IV Controlled Substance, all within one

thousand (1,000) feet of the real property comprising a housing facility owned by a public housing

authority, that is, Los Laureles Public Housing Project and other areas within and near the

Municipality of Bayamón, Puerto Rico, all in violation of Title 21, United States Code, Sections

846, 841(a)(1), and 860.

II.    Consent to Proceed Before a Magistrate Judge

       On June 5, 2017, while assisted by counsel the defendant, by consent, appeared before the

undersigned in order to change his previous not guilty plea to a plea of guilty as to count one of

the indictment. In open court the defendant was questioned as to the purpose of the hearing being

held and was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries

were to be conducted under oath and that it was expected that his answers would be truthful; (c)

the potential consequences of lying under oath (such as a perjury charge); and (d) his right to have

the change of plea proceedings presided by a district judge instead of a magistrate judge. The

defendant was also explained the differences between the appointment and functions of the two.

The defendant consented to proceed before the undersigned magistrate judge.

III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure

       A.      Rule 11(c)(1) Requirements

        Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty pleas
to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to constitute a valid
waiver of the defendant’s right to trial, guilty pleas must be knowing and voluntary: “Rule 11 was
intended to ensure that a defendant who pleads guilty does so with an ‘understanding of the nature
of the charge and consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir.
1995) (quoting McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core
concerns in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47 F.3d at 4



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(citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)). United States v.
Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).

        B. Admonishment of Constitutional Rights

        To assure defendant’s understanding and awareness of his rights, defendant was advised

of his right:

        1.      To remain silent at trial and be presumed innocent, since it is the government who

has the burden of proving his guilt beyond a reasonable doubt.

        2.      To testify or not to testify at trial, and that no adverse inference could be made in

relation to his decision not to testify.

        3.      To a speedy trial before a district judge and a jury, at which he would be entitled to

see and cross examine the government witnesses, present evidence on his behalf, and challenge

the government’s evidence.

        4.      To have a unanimous verdict rendered by a jury of twelve persons which would

have to be convinced of defendant’s guilt beyond a reasonable doubt by means of admissible

evidence.

        5.      To use the subpoena power of the court to compel the attendance of witnesses.

        Upon listening to the defendant’s responses, observing his demeanor and his speaking with

his attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is

determined that defendant is aware of his constitutional rights.

        C. Consequences of Pleading Guilty

        Upon advising defendant of his constitutional rights, he was further advised of the

consequences of pleading guilty. Specifically, defendant was advised that by pleading guilty and

upon having his guilty plea accepted by the court, he will be giving up the above rights and will

be convicted solely on his statement that he is guilty.

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        Furthermore, the defendant was admonished of the fact that by pleading guilty he would

not be allowed later on to withdraw his plea because he eventually might disagree with the sentence

imposed, and that if he violates the conditions of supervised release, that privilege could be

revoked and he could be required to serve an additional term of imprisonment. He was also

explained that parole has been abolished.

        In response to further questioning, defendant was explained and he understood that if

convicted on count one as charged he will face the following penalties: a term of imprisonment of

not less than ten (10) years and not more than twice life imprisonment, a fine not to exceed twenty

million dollars ($20,000,000), and a term of supervised release of at least ten (10) years but not

more than life. However, if the court accepts the defendant’s guilty plea and if the court accepts

the amount of narcotics stipulated by the parties in the plea agreement, that is at least two (2)

kilograms but less than three point five (3.5) kilograms of cocaine, the penalties for the offense

shall be the following: a term of imprisonment of not less than five (5) years and not more than

eighty (80) years, a fine not to exceed ten million dollars ($10,000,000), and a term of supervised

release of at least eight (8) years but not more than life.

        The defendant was also explained what the supervised release term means. Defendant was

also made aware that the court must impose a mandatory penalty assessment of one hundred dollars

($100) per offense pursuant Title 18, United States Code, Section 3013(a).

        The defendant was advised that the ultimate sentence was a matter solely for the court to

decide in its discretion and that, even if the maximum imprisonment term and fine were to be

imposed upon him, he later could not withdraw his guilty plea for that reason alone. The defendant

understood this.




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       D. Plea Agreement

       The parties have entered into a written plea agreement that, upon being signed by the

government, defense attorney and defendant, was filed and made part of the record. Defendant

was clearly warned and recognized having understood that:

       1.      The plea agreement is not binding upon the sentencing court.

       2.      The plea agreement is an agreement between the defendant, defense counsel and

the attorney for the government which is presented as a recommendation to the court in regards to

the applicable sentencing adjustments and guidelines, which are advisory.

       3.      The agreement provides a sentencing recommendation and/or anticipated

sentencing guideline computation, that can be either accepted or rejected by the sentencing court.

       4.      In spite of the plea agreement and any sentencing recommendation contained

therein, the sentencing court retains full discretion to reject such plea agreement and impose any

sentence up to the maximum possible penalty prescribed by statute.

       Defendant acknowledged having understood these explanations and all the terms and

conditions of the plea agreement.

       E. Government's Evidence (Basis in Fact)

       The government presented a proffer of its evidence consistent with the version of facts of

the plea agreement with which the defendant concurred. Accordingly, it is determined that there is

a basis in fact and evidence to establish all the elements of the offense charged.

       F. Voluntariness

       The defendant accepted that no threats had been made to induce him to plead guilty and

that he did not feel pressured to plead guilty.




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       G. Waiver of Appeal

       The defendant was explained, and he understood that, if the sentence imposed by the court

is within or below the guideline range for the total offense level calculated in the plea agreement

when combined with the defendant’s criminal history category as determined by the court, the

defendant waives the right to appeal any aspect of this case’s judgment and sentence, including

but not limited to the term of imprisonment or probation, restitution, fines, forfeiture, and the term

and conditions of supervised release.

IV.    Conclusion

       The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of

Criminal Procedure, has entered a plea of guilty as to count one of the indictment. After cautioning

and examining the defendant under oath and in open court, concerning each of the subject matters

mentioned in Rule 11, as described in the preceding sections, I find that defendant is competent to

enter this guilty plea, is aware of the nature of the offense charged and the maximum statutory

penalties that the same carries, understands that the charge is supported by the government’s

evidence, has admitted to every element of the offense charged, and has done so in an intelligent

and voluntary manner with full knowledge of the consequences of his guilty plea. Therefore, I

recommend that the court accept the guilty plea of the defendant and that the defendant be adjudged

guilty as to count one of the indictment.

       Any objections to this report and recommendation must be specific and must be filed with

the Clerk of Court within fourteen (14) days of its receipt or before the sentencing hearing,

whichever occurs sooner. Failure to timely file specific objections to the report and

recommendation is a waiver of the right to review by the district court. United States v. Valencia-

Copete, 792 F.2d 4 (1st Cir. 1986).



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SO RECOMMENDED.

In San Juan, Puerto Rico, this 22nd day of June, 2017.

                                             s/Marcos E. López
                                             U.S. MAGISTRATE JUDGE




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